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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF DELAWARE

INTERNATIONAL BUSINESS MACHINES _ )
CORPORATION, )
) CA. No. 22-590-VAC-SRF

Plaintiff, )

) JURY TRIAL DEMANDED
v. )
)
ZYNGA INC.,, and CHARTBOOST, INC., )
)
Defendants. )

PROPOSEDLSCHEDULING ORDER .
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This*7th day of September, 2022, the Court having“condueted—en—initial_Rule—l6——
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scheduling-and planning conforenee pursuant to Federal Rule of Civil Procedure 16(b) and Local
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Rule 16.1 on 9/7/2022, and the parties having determined after discussion that the matter cannot
be resolved at this juncture by settlement, voluntary mediation, or binding arbitration;
IT IS ORDERED that:

1. Joinder_of Other Parties and Amendment of Pleadings. All motions to join

other parties, and to amend or supplement the pleadings shall be filed on or before August 1, 2023.
2. Discovery.' All fact discovery in this case shall be initiated so that it will be
completed on or before October 26, 2023. Unless otherwise ordered by the Court, the limitations

on discovery set forth in Local Rule 26.1 shall be strictly observed.

' Should the parties agree to modify the number of depositions under FED. R. CIV. P. 30, the
number of allowed interrogatories under Rule 33 or limit the number of requests for production
and/or requests for admission under Rules 34 and 36 respectively, they shall include the
appropriate proposed provisions in this Order.

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a. Rule 26(a)(1) Initial Disclosures. Unless otherwise agreed to by the parties,

the parties shall make their initial disclosures pursuant to Federal Rule of Civil Procedure 26(a)(1)
by September 1, 2022.

b. E-Discovery Default Standard. If they have not already done so, the parties

are to review the Default Standard for Discovery of Electronic Documents, which is posted on
Magistrate Judge Fallon’s section of the Court’s website (http://www.ded.uscourts.gov) under the
“Guidelines” tab, and is incorporated herein by reference. The parties are negotiating the terms
of an ESI order and will jointly file a proposed order no later than September 21, 2022. The parties
will provide initial disclosures of custodians and ESI issues according to paragraph 3 of the
District's Default Standard for Discovery of Electronic Documents by September 26, 2022.

c, Document Production. Document production shall be substantially

completed on or before August 10, 2023.
d. Interrogatories. A maximum of 25 interrogatories shall be served by each
side, i.e., only 25 total interrogatories can collectively be served on Defendants.

€. Contention Interrogatories. In the absence of agreement among the parties,

contention interrogatories, if filed, shall first be addressed by the party with the burden of proof no
later than the date established for the completion of document production, with the responsive
answers due within thirty (30) days thereof. The adequacy of all such interrogatory answers shall
be judged by the level of detail each party provides; i.e., the more detail a party provides, the more
detail a party shall receive.

f. Requests for Admission. A maximum of 40 requests for admission shall be

served per side, excluding requests for authentication of documents.

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g. Depositions.

i. Timing. In the absence of agreement among the parties or by order
of the court, no deposition (other than those noticed under Fed. R.
Civ. P. 30(b)(6)) shall be scheduled prior to the completion of
document production.

ii. Limitation on Hours for Deposition Discovery. Each side is

limited to a maximum of 70 hours for taking fact depositions.

iii. Location of Depositions. Any party or representative (officer,

director, or managing agent) of a party filing a civil action in this
district court must ordinarily be required, upon request, to submit
to a deposition at a place designated within this district.
Exceptions to this general rule may be made by order of the Court.
A defendant who becomes a counterclaimant, cross-claimant, or

third-party plaintiff shall be considered as having filed an action

in this Court for the purpose of this provision.

h. Disclosure of Expert Testimony.

i. For the party who has the initial burden of proof on the subject

matter, the initial Federal Rule 26(a)(2) disclosure of expert
testimony is due on or before November 16, 2023.

ii. |The supplemental disclosure to contradict or rebut evidence on the
same matter identified by another party is due on or before

December 21, 2023.
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iii. Reply expert reports from the party with the initial burden of proof
are due on or before January 18, 2024.

iv. No other expert reports will be permitted without either the
consent of all parties or leave of the Court. Along with the
submissions of the expert reports, the parties shall advise of the
dates and times of their experts’ availability for deposition.

i. Objections to Expert Testimony. To the extent any objection to expert

testimony is made pursuant to the principles announced in Daubert v. Merrell Dow Pharm., Inc.,
509 U.S. 579 (1993), as incorporated in Federal Rule of Evidence 702, it shall be made by motion
no later than the deadline for dispositive motions set forth herein, unless otherwise ordered by the
Court.

j. Fact Witnesses to be Called at Trial.

i. Within one (1) month following the close of expert discovery,
each party shall serve on the other parties a list of each fact witness
(including any expert witness who is also expected to give fact
testimony), who has previously been disclosed during discovery
and that it intends to call at trial. Within one (1) month of receipt
of such fact witness list, each party shall serve a list of each
rebuttal fact witness that it intends to call at trial.

iii The parties shall have the right to depose any such fact witnesses
who have not previously been deposed in this case. Such
deposition shall be held within one (1) month after service of the

list of rebuttal fact witnesses and shall be limited to twenty (20)

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hours per side in the aggregate unless extended by agreement of
the parties or upon order of the court upon good cause shown.

k, Discovery Matters and Disputes Relating to Protective Orders.

i. Should counsel find they are unable to resolve a discovery matter
or those other matters covered by this paragraph,” the moving
party (i.e., the party seeking relief from the Court) shall file a
“TJoint] Motion for Teleconference To Resolve [Protective Order
or Discovery] Dispute.” The suggested text for this motion can be
found in Magistrate Judge Fallon’s section of the Court’s website
in the “Forms” tab, under the heading “Discovery Matters—Motion
to Resolve Discovery Disputes.”

ii. The Court will thereafter order a discovery telephone conference
and deadlines for submissions. On the date set by the Court,
generally not less than seventy-two (72) hours prior to the
conference, excluding weekends and holidays, the party seeking
relief shall file with the Court a letter, not to exceed four (4) pages,
in no less than 12-point font, outlining the issues in dispute and its
position on those issues. This submission shall include a proposed
order, attached as an exhibit, setting out the nature of the relief

requested. The parties shall file any exhibits associated with their

2 Counsel are expected to verbally discuss the issues/concerns before seeking the Court’s
intervention.

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respective letter submissions as separate, individual attachments
within the docket entry for the letter.

iii. On the date set by the Court, generally not less than forty-eight
(48) hours prior to the conference, excluding weekends and
holidays, any party opposing the application for relief may file a
letter, not to exceed four (4) pages, in no less than 12-point font,
outlining that party’s reason for its opposition.

iv. Two (2) courtesy copies of the letters are to be hand delivered to
the Clerk’s Office within one hour of e-filing. All courtesy copies
shall be double-sided.

v. Should the Court find further briefing necessary upon conclusion
of the telephone conference, the Court will order it.

vi. Disputes or issues regarding protective orders, or motions for
extension of time for briefing case dispositive motions which are
related to discovery matters are to be addressed in accordance with
this paragraph.

3. Application to Court for Protective Order. Should counsel find it will be

necessary to apply to the Court for a protective order specifying terms and conditions for the
disclosure of confidential information, counsel should confer and attempt to reach an agreement
on a proposed form of order and submit it to the Court within ten (10) days from the date of this
Order. Should counsel be unable to reach an agreement on a proposed form of protective order,

counsel must follow the provisions of Paragraph 2(j) above.

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Any proposed protective order should include the following paragraph:

Other Proceedings. By entering this order and limiting the
disclosure of information in this litigation, the Court does not intend
to preclude another court from finding that information may be
relevant and subject to disclosure in another case. Any person or
party subject to this order who in other proceedings becomes subject
to a motion to disclose another party’s information designated
“confidential” [the parties should list any other level of designation,
such as “highly confidential,” which may be provided for in the
protective order] pursuant to this order shall promptly notify that
party of the motion so that party may have an opportunity to appear
and be heard in the other proceeding.

4, Papers Filed Under Seal. When filing papers under seal, counsel should deliver

to the Clerk an original and one (1) copy of the papers. In accordance with section G of the
Administrative Procedures Governing Filing and Service by Electronic Means, a redacted version
of any sealed document shall be filed electronically within seven (7) days of the filing of the sealed
document.

5. Courtesy Copies. The parties shall provide to the Court two (2) courtesy copies
of all briefs and one (1) courtesy copy of any other document filed in support of any briefs (i.e.,
appendices, exhibits, declarations, affidavits, etc.). This provision also applies to papers filed

under seal.

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6. ADR Process. This matter will be-discussed-during-the-Rute +6-scheduling
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7. Interim Status Report. On May 30, 2023, counsel shall submit a joint interim

report to the Court on the nature of the matters in issue and the progress of discovery to date.

8. Status Conference. On June 6, 2023, the Court will hold a Rule 16(a), (b) and (c)

conference by telephone with counsel beginning at 10:00 a.m. Plaintiffs counsel shall initiate the
telephone call. At the time of this conference, counsel shall also be prepared to discuss the

progress, if any, of settlement discussions and shall be prepared to discuss the possibility of setting
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up a settlement conference with the Court, counsel and their clients. If all parties agree that there
is nothing to report, nor anything to add to the interim status report or to this order, they shall notify
the Court in writing before the conference is scheduled to occur, and the conference will be taken
off of the Court’s calendar.

9, Disclosures. Absent agreement among the parties, and approval of the Court:

a. By September 21, 2022, Plaintiff shall identify the accused product(s),
including accused methods and systems, and its damages model, as well as the asserted patent(s)
that the accused product(s) allegedly infringe(s). Plaintiff shall also produce the file history for
each asserted patent.

b. By November 3, 2022, Defendant shall produce core technical documents
related to the accused product(s), sufficient to show how the accused product(s) work(s), including
but not limited to non-publicly available operation manuals, product literature, schematics, and
specifications. Defendant shall also produce sales figures for the accused product(s)

c. By December 15, 2022, Plaintiff shall produce an initial claim chart relating
each known accused product to the asserted claims each such product allegedly infringes.

d. By January 26, 2023, Defendant shall produce its initial invalidity
contentions for each asserted claim, as well as the known related invalidating references.

e. By August 24, 2023 or 30 days after issuance of the claim construction
order, whichever is earlier, Plaintiff shall provide final infringement contentions.

f. By September 25, 2023 or 60 days after issuance of the claim construction

order, whichever is earlier, Defendant shall provide final invalidity contentions.

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10. Narrowing Issues.

a. On November 9, 2023, Plaintiff shall perform a first narrowing of the
number of asserted claims. On November 16, 2023, Defendant shall perform a first narrowing of
the number of asserted invalidity references.

b. On January 25, 2024, Plaintiff shall perform a second narrowing of the
number of asserted claims. On February 1, 2024, Defendant shall perform a second narrowing of
the number of asserted invalidity references.

11. Claim Construction Issue Identification. On or before February 9, 2023, the

parties shall exchange a list of those claim term(s)/phrase(s) that they believe need construction
and their proposed claim construction of those term(s)/phrase(s). This document will not be filed
with the Court. Subsequent to exchanging that list, the parties will meet and confer to prepare a
Joint Claim Construction Chart to be filed no later than February 23, 2023. The parties’ Joint

Claim Construction Chart should identify for the Court the term(s)/phrase(s) of the claim(s) in

issue, and should include each party’s proposed construction of the disputed claim language with
citation(s) only to the intrinsic evidence in support of their respective proposed constructions. A
copy of the patent(s) in issue as well as those portions of the intrinsic record relied upon shall be

submitted with this Joint Claim Construction Chart. In this joint submission, the parties shall not

provide argument.

12. Claim Construction Briefing. The Plaintiff shall serve, but not file, its opening

brief, not to exceed 20 pages, on March 21, 2023. The Defendant shall serve, but not file, its
answering brief, not to exceed 30 pages, on April 18, 2023. The Plaintiff shall serve, but not file,
its reply brief, not to exceed 20 pages, on May 2, 2023. The Defendant shall serve, but not file,

its sur-reply brief, not to exceed 10 pages, on May 16, 2023. No later than May 19, 2023, the
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parties shall file a Joint Claim Construction Brief. The parties shall copy and paste their unfiled
briefs into one brief, with their positions on each claim term in sequential order, in substantially

the form below.

JOINT CLAIM CONSTRUCTION BRIEF

I. Agreed-upon Constructions
Il. Disputed Constructions
A. [TERM 1]
1. Plaintiff's Opening Position
2. Defendant’s Answering Position

3. Plaintiffs Reply Position

4. Defendant’s Sur-Reply Position

B. [TERM 2]
1. Plaintiff's Opening Position
2. Defendant’s Answering Position

3. Plaintiff's Reply Position

4._  Defendant’s Sur-Reply Position
Etc. The parties need not include any general summaries of the law relating to claim construction.
If there are any materials that would be submitted in an appendix, the parties shall submit them in
a Joint Appendix.

13. Beginning at TBD on TBD, the Court will hear evidence and argument on claim
construction. The parties shall notify the Court, by joint letter submission, no later than the date
on which their answering claim construction briefs are due: (i) whether they request leave to
present testimony at the hearing; and (ii) the amount of time they would like to have allocated to

them for the hearing.

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14. The court shall issue its decision on claim construction on TBD.

15. Case Dispositive Motions. All case dispositive motions, an opening brief, and
affidavits, if any, in support of the motion shall be served and filed on or before February 29,
2024. Briefing will be presented pursuant to the Court’s Local Rules, except as modified during
the scheduling conference. Responses to dispositive motions shall be served and filed on or before
March 28, 2024 and replies to dispositive motions shall be served and filed on or before April 11,
2024.

Any reference to exhibits in the briefs must refer to the specific pages of the exhibit
proffered in support of a party’s argument. If the exhibit is a deposition, both the page and line
numbers must be specified.’

16. Applications by Motion. Except as otherwise specified herein, any application to
the Court shall be by written motion filed with the Clerk. Any non-dispositive motion should

contain the statement required by Local Rule 7.1.1.

17. Pretrial Conference. On TBD, the Court will hold a Pretrial Conference in Court

with counsel beginning at TBD. Unless otherwise ordered by the Court, the parties should assume

that filing the pretrial order satisfies the pretrial disclosure requirement of Federal Rule of Civil
Procedure 26(a)(3). The parties shall file with the Court the joint proposed final pretrial order with
the information required by the form of Final Pretrial Order which accompanies this Scheduling
Order seven days before the Pretrial Conference. Unless otherwise ordered by the Court, the

parties shall comply with the time frames set forth in Local Rule 16.3(d)(1)-(3) for the preparation

3 For example, a reference to an exhibit that refers to the entire document will not be accepted and
is not consistent with this provision.

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of the joint proposed final pretrial order. The Court will advise the parties at or before the above-
scheduled pretrial conference whether an additional pretrial conference will be necessary.

18. The parties shall provide the Court two (2) double-sided courtesy copies of the joint
proposed final pretrial order and all attachments. The proposed final pretrial order shall contain a
Table of Contents.

19. Motions in Limine. Motions in limine shall not be separately filed. All in limine

requests and responses thereto shall be set forth in the proposed pretrial order. Each party shall be
limited to three (3) in limine requests, unless otherwise permitted by the Court. The in limine
request and any response shall contain the authorities relied upon; each in limine request may be
supported by a maximum of three (3) pages of argument and may be opposed by a maximum of
three (3) pages of argument, and the party making the in Jimine request may add a maximum of
one (1) additional page in reply in support of its request. If more than one party is supporting or
opposing an in limine request, such support or opposition shall be combined in a single three (3)

page submission (and, if the moving party, a single one (1) page reply), unless otherwise ordered

by the Court. No separate briefing shall be submitted on in limine requests, unless otherwise

permitted by the Court.

20. Jury Instructions, Voir Dire, and Special Verdict Forms. Where a case is to be
tried to a jury, pursuant to Local Rules 47 and 51 the parties should file joint (i) proposed voir
dire, (ii) preliminary jury instructions, (iii) final jury instructions, and (iv) special verdict forms
three (3) full business days before the final pretrial conference. That submission shall be
accompanied by a courtesy copy containing electronic files of these documents in Microsoft Word aK

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format, which shall be submitted to Rebecea—Polito@ded-uscourts:gov--—t_ the cham

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21. Trial. This matter is scheduled for a TBD day jury trial beginning at 9:30 a.m. on

TBD with the subsequent trial days beginning at 9:00 a.m. The trial will be timed, as counsel will

be allocated a total number of hours in which to present their respective cases.

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EXHIBIT A

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EXHIBIT A
PROPOSED CASE SCHEDULE
Event Proposed Date
Rule 26(a)(1) Initial Disclosures September 1, 2022
Case Management Conference September 7, 2022

Plaintiff Identifies Accused Products,
Damages Model, Asserted Patents, and September 21, 2022 °
Produces File Histories

Parties File Joint Proposed ESI Order September 21, 2022

Parties Produce Initial Disclosures of

Custodians and ESI September 26, 2022

Defendants Produce Core Technical
Documents and Sales Figures For Accused November 3, 2022
Products

Plaintiff Produces Initial Infringement

. December 15, 2022
Contentions

Defendants Produce Initial Invalidity

Contentions January 26, 2023

Parties Exchange Proposed Terms and

Constructions February 9, 2023

Parties File Joint Claim Construction Chart February 23, 2023

Plaintiff To Serve (But Not File) Opening

Claim Construction Brief March 21, 2023

Defendants To Serve (But Not File)

Answering Claim Construction Brief April 18, 2023

Plaintiff To Serve (But Not File) Reply Claim

Construction Brief May 2, 2023

Defendants To Serve (But Not File) Sur-

Reply Claim Construction Brief May 16, 2023

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Event Proposed Date
Parties File Joint Claim Construction Brief May 19, 2023
Interim Status Report May 30, 2023
Status Conference June 6, 2023
Markman Hearing TBD

Last Day For Joinder of Other Parties and
Amendment or Supplementation of Pleadings

August 1, 2023

Deadline For Substantial Completion of
Document Production

August 10, 2023

Plaintiff Provides Final Infringement
Contentions

August 24, 2023 (or 30 days after Claim
Construction Order, whichever is earlier)

Defendants Provide Final Invalidity
Contentions

September 25, 2023 (or 60 days after Claim
Construction Order, whichever is earlier)

Close of Fact Discovery

October 26, 2023

Plaintiff Performs First Narrowing of
Asserted Claims

November 9, 2023

Defendants Perform First Narrowing of
Invalidity References

November 16, 2023

Initial FRCP 26(a)(2) Disclosure of Expert
Testimony

November 16, 2023

Last Day For Supplemental Disclosure of
Expert Testimony to Contradict or Rebut
Evidence on the Same Matter Identified By
Another Party

December 21, 2023

Reply Expert Reports From the Party with the
Initial Burden of Proof

January 18, 2024

Plaintiff Performs Second Narrowing of
Asserted Claims

January 25, 2024

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Event Proposed Date |

Defendants Perform Second Narrowing of

Invalidity References February 1, 2024

Opening Case Dispositive and Daubert

Motions February 29, 2024

Responses to Case Dispositive and Daubert

, March 28, 2024
Motions

Replies to Case Dispositive and Daubert

Motions April 11, 2024

File Joint Proposed Final Pretrial Order Seven days prior to pretrial conference

File Jury Instructions, Voir Dire, and Verdict . .
Three days prior to pretrial conference

Forms
Pretrial Conference 2 weeks prior to start of trial
Trial TBD

